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                          IN THE UNITED STATES DISTRICT COURT
                           FOR THE WESTERN DISTRICT OF TEXAS
                                     AUSTIN DIVISION

    COMMODITY FUTURES              TRADING
    COMMISSION,

                 Plaintiff,

    v.

    DAVID CARTU, JONATHAN CARTU,                               1:20-CV-908-RP
    JOSHUA CARTU, RYAN MASTEN,
    LEEAV PERETZ, NATI PERETZ, ALL
    OUT MARKETING LIMITED, BAREIT
    MEDIA LLC D/B/A SIGNALPUSH,
    BLUE MOON INVESTMENTS LTD.,
    AND ORLANDO UNION INC.,

                 Defendants.



                 JOINT MOTION TO EXCEED PAGE LIMITS AND
         EXTEND PLAINTIFF’S TIME TO RESPOND TO MOTIONS TO DISMISS

         Plaintiff Commodity Futures Trading Commission (“Plaintiff” or “CFTC”) and

Defendants David Cartu, Jonathan Cartu, and Joshua Cartu (collectively, “Moving Defendants”)

file this Joint Motion to Exceed Page Limits and Extend Plaintiff’s Time to Respond to Motions

to Dismiss.1

         On February 7, 2022, Moving Defendants intend to file Motions to Dismiss Plaintiff’s

Complaint for Injunctive Relief, Civil Monetary Penalties, and Other Equitable Relief (the

“Complaint”). Pursuant to Local Rule CV-7(d)(3), the page limit for a dispositive motion, such

as a motion to dismiss, is 20 pages (though it is unclear whether that limitation applies when


1
 Defendants Ryan Masten and BareIt Media LLC d/b/a SignalPush, through their counsel, have
consented to this motion. The remaining defendants have not responded to the Complaint and no counsel
have appeared on their behalf.
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moving to dismiss on multiple bases).       While the Moving Defendants are endeavoring to

consolidate and join in portions of each other’s motions, they nevertheless need additional pages

to adequately address all of the legal and factual issues as to themselves individually. Therefore,

the Moving Defendants each request that they be granted leave to file their respective Motions to

Dismiss, not to exceed 40 pages in length. The CFTC consents to this request.

        In so consenting, the CFTC similarly requests leave to file additional pages when

responding to Defendants’ Motions to Dismiss. Pursuant to Local Rule CV-7(e)(3), the page limit

for responses to dispositive motions is 20 pages. Plaintiff therefore requests that it be granted

leave to file its response not to exceed 40 pages in length. Plaintiff further requests that the

deadline to file its response, originally due on or before March 7, 2022, be extended by two weeks

to on or before March 21, 2022. The Moving Defendants consent to these requests.

        The Moving Defendants continue to reserve all rights, including but not limited to

regarding jurisdiction, venue, and the power of the Court over them and the propriety of this

jurisdiction.

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      A proposed Agreed Order accompanies this Motion.

Dated: January 31, 2022                     Respectfully Submitted,

/s Benjamin E. Sedrish                      /s Peter A. Stokes
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                               CERTIFICATE OF SERVICE

    The undersigned hereby certifies that a true and correct copy of the above and foregoing
document has been served on all counsel of record via the Court’s ECF system.

                                                         /s Glenn Colton
                                                         Glenn Colton
